
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant (Trenton Blake Williams) on the 9th of February 2017 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed Ex Mero Motu by order of the Court in conference, this the 3rd of May 2017."
Upon consideration of the petition filed on the 9th of February 2017 by Defendant (Trenton Blake Williams) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd of May 2017."
